
GREEN, J.
I have carefully examined the fifty depositions filed in this case, taken at an expense of more than a dollar each ; and throwing out all the evidence of the appellants, and the circumstances which repel the claim of the appellee to the slaves in question, I do not think there is a scintilla of proof in the record, that they ever came into his possession, or remained with him, as a gift from his father, for one moment of time. I refrain from the discussion of this mass of evidence, because it is unfit for the decision of a court of equity, if it were doubtful, as perhaps it ought to be considered, from the circumstance that the court below thought the evidence sufficient to support the claim. A jury is a more competent tribunal to determine this question with the witnesses before it, than either this court or the chancellor ; and might have determined it at an expense of one fifth or one tenth of the cost of this proceeding. Nor was there a shadow of ground upon which *a court of equity could entertain this double suit, of detinue as to some of the slaves, and trover as to one of them, against different parties. There was no difficulty in prosecuting suits at law ; no uncertainty as to the names, ages or sexes of the increase of the female slave ; no discovery necessary; no difficulty as to a fair adjustment of damages ; and the rights of the parties would have been settled not only a't a tythe of the expense, but in one tenth of the time, which this suit has produced and consumed.
CABELL, J.
I am also decidedly of opinion, that the evidence in this case, does not establish gift of the slaves contended for by the appellee; and that, even if that were a doubtful question, there was no ground for coming into a court of equity. The plaintiff could not, from the facts stated in the bill, have been ignorant of the names, ages or sexes of the slaves in controversy. The question of title, depending exclusively on parol testimony, was peculiarly proper for a jury ; nor was there any other question in the cause, which could not have been decided as correctly by a jury, as by a commissioner.
The other judges concurred.
Decree reversed, and a bill dismissed with costs.
